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     Attorney for Defendant
 6   RENE CORRAL
 7

 8

 9                            IN THE UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA
11   THE UNITED STATES OF AMERICA,                    ) Case No.: 14-CR-0300-GEB
                                                      )
12                     Plaintiffs,                    ) STIPULATION AND PROPOSED ORDER
                                                      ) TO CONTINUE STATUS HEARING OF
13          vs.                                       ) AUGUST 11, 2017
                                                      )
14   RENE CORRAL.                                     )
                                                      )
15                  Defendant.                        )
                                                      )
16
            Rene Corral, by and through his counsel, Jesse J. Garcia, and the United States
17

18   Government, by and through its counsel, Justin L. Lee, Assistant United States Attorney, jointly

19   stipulate and respectfully request the Court to reset the status hearing presently set for August 11,
20
     2017 to September 29, 2017 at 9:00 a.m.
21
            The reason of this continuance is based on the following: Counsel for defendant, Rene
22

23
     Corral requires additional time to meet with Mr. Corral and discuss resolution. Therefore, the

24   parties have agreed and respectfully request that the Court set the status hearing date of August
25
     11, 2017, to September 29, 2017, at 9:00 a.m.
26
            Counsel for defendant, Rene Corral further believes that failure to grant this continuance
27
     would deny defendant of reasonable time necessary for effective preparation, taking into account
28

     the exercise of due diligence.
     STIPULATION AND ORDER TO CONTINUE STATUS HEARING
     U.S.A. V. RENE CORRAL 14-CR-0300-GEB                                                           Page 1
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 1          Further, time in this case should be excluded in accordance with the Speedy Trial Act, 18
 2
     U.S.C. § 3161(h)(7)(A) and (B)(iv) for adequate preparation of defense counsel and continuity of
 3
     counsel, taking into account due diligence.
 4

 5                                                 Respectfully submitted,

 6   DATED: August 10, 2017                        /s/JESSE GARCIA
                                                   Attorney for Defendant
 7                                                 RENE CORRAL
 8

 9
     DATED: August 10,2 017                         /S/JUSTIN L. LEE
10                                                 Authorized to sign for JUSTIN L. LEE
                                                   Assistant United States Attorney
11                                                 on August 10, 2017
12

13                                                 ORDER

14           IT IS HEREBY ORDERED that the status hearing in this case, currently scheduled on
15
     August 11, 2017, at 9:00 a.m., be continued to September 29, 2017, at 9:00 a.m.
16
            IT IS FURTHER ORDERED that the time from the date of this Order to September 29,
17
     2017, should be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), for
18

19   effective preparation of counsel and continuity of counsel. The Court finds that the ends of

20   justice served by granting the continuance outweigh the best interest of the public and the
21
     defendant in a speedy and public trial, and the failure to grant the requested continuance would
22
     unreasonably deny counsel the reasonable time necessary for effective preparation and continuity
23
     of counsel, taking into account due diligence.
24

25   Dated: August 10, 2017

26

27

28



     STIPULATION AND ORDER TO CONTINUE STATUS HEARING
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